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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                                                                    11/06/2020
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 MAIE IBRAHIM,


                                                Plaintiff,                    ORDER SCHEDULING TELEPHONE
                                                                              CONFERENCE
                             -against-
                                                                              19-CV-3821 (VEC)


 FIDELITY BROKERAGE SERVICES LLC,

                                                 Defendant.
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KATHARINE H. PARKER, UNITED STATES MAGISTRATE JUDGE

         This case has been referred to me for settlement purposes (docket no. 44). A telephone

conference will be held on Wednesday, November 18, 2020 at 2:00 p.m. in advance of a

settlement conference. The parties are directed to review Judge Parker’s Individual Practices at

http://nysd.uscourts.gov/judge/Parker concerning settlement conferences in advance of the

call. Counsel for the parties are directed to call Judge Parker’s Chambers court conference line

at the scheduled time. Please dial (866) 434-5269, Access code: 4858267.

         SO ORDERED.

Dated: November 6, 2020
       New York, New York

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                                                                     KATHARINE H. PARKER
                                                                     United States Magistrate Judge
